          Case 1:19-cv-01471-ABJ Document 22 Filed 07/15/19 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                     )
MALLINCKRODT ARD LLC,                                )
                                                     )
                      Plaintiff,                     )
                                                     )
                      v.                             )       Civil Action No. 1:19-cv-1471
                                                     )
SEEMA VERMA,                                         )
in her official capacity as                          )
ADMINISTRATOR, CENTERS FOR                           )
MEDICARE & MEDICAID SERVICES,                        )
                                                     )
and                                                  )
                                                     )
ALEX M. AZAR II,                                     )       ORAL HEARING REQUESTED
in his official capacity as SECRETARY,               )
UNITED STATES DEPARTMENT OF                          )
HEALTH AND HUMAN SERVICES,                           )
                                                     )
                      Defendants.                    )
                                                     )

             PLAINTIFF’S CROSS-MOTION FOR SUMMARY JUDGMENT

       Pursuant to Rule 56 of the Federal Rules of Civil Procedure and Local Rule 7(h), Plaintiff

Mallinckrodt ARD LLC respectfully submits this cross-motion for summary judgment on all

issues raised in the Complaint.

       This lawsuit challenges CMS’s decision that Mallinckrodt’s drug product Acthar is not

eligible for a new base date average manufacturer price (AMP) under the Medicaid drug rebate

statute. After correctly concluding that Acthar is eligible for a new base date AMP in 2012,

CMS reversed course and decided it is not. Defendants’ conduct violates the Medicaid drug

rebate statute, 42 U.S.C. § 1396r-8(k)(7)(A)(iv), and the agency’s own regulations; it constitutes
          Case 1:19-cv-01471-ABJ Document 22 Filed 07/15/19 Page 2 of 2



arbitrary and capricious conduct under the Administrative Procedure Act; and it violates basic

principles of fair notice and retroactivity.

        For these reasons and those set forth more fully in the Memorandum attached hereto (as

well as the Memorandum filed in support of Plaintiff’s Motion for Preliminary Injunction, both

of which are incorporated herein by reference), this Court should grant Mallinckrodt’s motion for

summary judgment, declare CMS’s decision that Acthar is not eligible for a new base date AMP

unlawful, and bar Defendants and all others in active concert or participation with them

(including other federal actors) from suspending Mallinckrodt’s participation in the Medicaid

Drug Rebate Program and/or taking any further action based on CMS’s determination that

Acthar is not entitled to a new base date AMP.

        A proposed order accompanies this motion.

                                               Respectfully submitted,

                                               /s/ Catherine E. Stetson
                                               Catherine E. Stetson (D.C. Bar No. 453221)
                                               Susan M. Cook (D.C. Bar No. 462978)
                                               Kyle M. Druding (D.C. Bar No. 1044631)
                                               HOGAN LOVELLS US LLP
                                               555 Thirteenth Street, NW
                                               Washington, D.C. 20004
                                               Phone: (202) 637-5491
                                               Fax: (202) 637-5910
                                               cate.stetson@hoganlovells.com

                                               Counsel for Mallinckrodt ARD LLC

Dated: July 15, 2019




                                                  2
